       Case 1-18-47178-nhl            Doc 25      Filed 04/17/19   Entered 04/17/19 14:33:14




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In Re:                                                             Chapter 7
                                                                   Case No. 18-47178-NHL
Ramla Bibi
                          Debtor.

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                                                   NOTICE

           PLEASE TAKE NOTICE that the Court has scheduled a hearing on [ECF#24] the

Objection to [ECF#22] the Debtor’s Request to enter into the Loss Mitigation Program with

creditor Nationstar Mortgage LLC d/b/a Mr. Cooper, Loan # 0452 for May 22, 2019 at 3:00

P.M. before the Honorable Nancy Hershey Lord at The Conrad B. Duberstein United States

Bankruptcy Courthouse, 271-C Cadman Plaza East, Room 3577, Brooklyn, New York 11201.




Dated: Brooklyn, New York                            S/ Angela Howard
       April 17, 2019                                ANGELA HOWARD, COURTROOM DEPUTY
                                                     FOR THE HONORABLE NANCY HERSHEY LORD
